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                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

                                     §
TIECIA AYERS,                        §
     Plaintiff                       §
                                     §
vs.                                  §       CIVIL ACTION NO: 4:31-CV-01844
                                     §
BERGQUIST LAW FIRM, PLLC &           §
DAVID W. BERGQUIST,                  §
     Defendants

           DEFENDANTS’ MOTION TO STRIKE PLAINTIFF’S
       “HUMAN RESOURCES PRACTICES” EXPERT MARLA MOORE




                                 Respectfully submitted,


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                                 DAVID W. BERGQUIST
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       Defendants Bergquist Law Firm, PLLC, (“BLF”) and David W. Bergquist (“Bergquist”)

(collectively “Defendants”) move to strike Plaintiff’s human resources practices expert, Marla

Moore (“Moore”), and exclude any and all reports, conclusions, and testimony that Moore

provided or will provide in connection with the instant action.

                                   I.
                     PROCEDURAL AND FACTUAL BACKGROUND

       This case is brought by Tiecia Ayers (“Plaintiff” or “Ayers”), an associate attorney at BLF

who was terminated for her poor job performance and failure to comply with BLF’s policies and

procedures. Plaintiff is now attempting to link her termination to Title VII, FMLA, and ADA by

claiming Defendants discriminated against her due to her sex, gender, race, and pregnancy;

retaliated and interfered with her FMLA entitlement; and discriminated against her and failed to

accommodate her in violation of the ADA.

       In support of her effort, Ayers designated Moore as an expert witness. Moore is designated

to testify regarding whether Defendants “engaged in adequate human resources practices.” Dkt.

No. 23 at pg.1.

                                  II.
           STATEMENT OF ISSUES AND SUMMARY OF THE ARGUMENTS

       Moore’s report, including any testimony in support of Moore’s proffered opinion should

be stricken for a number of reasons. First and foremost, even if Moore was qualified as an expert

regarding human resources, her offered opinions regarding whether Defendants engaged in

adequate human resources practices are entirely irrelevant and unhelpful to any trier of fact.

Moreover, Moore’s opinions criticizing Defendants human resources practices are based upon

insufficient and incomplete data, and therefore not reliable.

       Accordingly, Moore’s offered opinion testimony does not meet the criteria for expert



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testimony set forth in Federal Rule of Evidence 702 and established by the United States Supreme

Court in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and should be struck

and excluded from consideration in this case entirely.

                                       III.
                              ARGUMENTS AND AUTHORITIES

   A.      Admissibility of Expert Testimony under Daubert

        The starting point for determining the admissibility of any expert opinion is Federal Rule of

Evidence 702:

        A witness who is qualified as an expert by knowledge, skill, experience, training,
        or education may testify in the form of an opinion or otherwise if:

        (a) the expert’s scientific, technical, or other specialized knowledge will help the
        trier of fact to understand the evidence or to determine a fact in issue;

        (b) the testimony is based on sufficient facts or data;

        (c) the testimony is the product of reliable principles and methods; and

        (d) the expert has reliably applied the principles and methods to the facts of the
        case.

FED. R. EVID. 702.

        Furthermore, “[e]xpert testimony is admissible only if the proponent demonstrates that (1)

the expert is qualified; (2) the evidence is relevant to the case; and (3) the evidence is reliable.”

Watkins v. Telsmith, Inc., 121 F.3d 984, 988-89 (5th Cir.1997).

        Rule 702 thus requires trial courts to act as “gate-keepers,” making a “preliminary

assessment of whether the reasoning or methodology underlying the testimony is scientifically

valid and of whether that reasoning or methodology properly can be applied to the facts in issue.”

Daubert, 509 U.S. at 592-93. In this role as a gate-keeper, the court must determine that “an




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expert’s testimony both rests on a reliable foundation and is relevant to the task at hand.” Id. at

597.

         “A court may conclude that there is simply too great an analytical gap between the data and

the opinion proffered.” Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997). Similarly, a court must

perform a screening function to ensure that the expert’s testimony “is the product of reliable principles

and methods.” FED. R. EVID. 702; Kumho Tire Co. Ltd. v. Carmichael, 526 U.S. 137, 152 (1999).

That is, a court must “make certain that an expert, whether basing testimony upon professional studies

or personal experience, employs in the courtroom the same level of intellectual rigor that characterizes

the practice of an expert in the relevant field.” Id. at 152. The Daubert standards apply to all expert

testimony, whether scientific or otherwise. Id. at 141.

        Specifically related to employment and human resources issues, courts have generally

allowed experts to testify on issues related to the quality or propriety of a defendant’s employment

practices when such issues are relevant to a plaintiff’s claims. See, e.g., Gonzalez v. Conoco, Inc.,

No. H-98-3109, 1999 WL 1043756, at *3 (S.D. Tex. Oct. 15, 1999).

B.      Moore’s Opinions Cannot Withstand Daubert Scrutiny

        1.      Plaintiff’s Complaints Against Defendants and Moore’s Opinions.

        To understand the myriad flaws precluding Moore from offering any of her opinions as an

expert in this case, it is crucial to first understand the context in which she offers her two primary

opinions - one directed at the adequacy of Defendants’ “human resources practices” with respect

to the administration of employee leave, and the other directed at the adequacy of Defendants’

“human resources practices” with respect to the administration of employee accommodation

requests.

        As outlined in Plaintiff’s Original Complaint, Ayers brought this suit under three claims.

First, she claims Defendants discriminated against her based on her sex, gender, race, and


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pregnancy in violation of Title VII. Second, she claims Defendants retaliated against her and

interfered with her FMLA rights. And third, she claims Defendants discriminated against her based

on her pregnancy complications and failed to accommodate her in violation of the ADA. Dkt. No.

1 at pg. 4-6. As a result, Plaintiff claims she was terminated.

       However, as outlined in Defendants’ Motion for Summary Judgment, Defendants had

legitimate non-discriminatory, non-retaliatory, and non-interference reasons to terminate Plaintiff.

See Dkt. No. 29, at pg. 8-12. BLF found she had over 700 unread emails, her cases were being

DWOP, she had missed discovery deadlines, there were motions to compel being filed and ruled

against her with orders granted, she had missed hearings, she was not properly documenting her

cases per BLF’s policies and procedures, she was not delegating tasks accordingly, etc. In short,

and simply put, Defendants terminated Ayers for her poor job performance and failure to comply

with BLF’s policies and procedures.

       Moore’s expert report limits her scope of expert testimony specifically to “Whether the

Defendants Bergquist Law Firm, PLLC and David W. Bergquist engaged in adequate human

resources practices for a firm of its size, generally, and with respect to Plaintiff Tiecia Ayers,

specifically.” Dkt. No. 23 at pg.1. However, nowhere in her complaint or claims does Ayers bring

a claim alleging inadequate human resources practices, or otherwise mention Defendants’ human

resources practices. See Dkt. No. 1 at pg. 4-6. Moore tries to tie the FMLA and the ADA into her

human resources opinions regarding Defendants’ practices but, yet again and importantly to note,

her opinions do not concern any factual or legal issues or claims in this lawsuit.

       2.      Moore’s Offered Opinions are Irrelevant and Violate Well-Understood
               Requirements for Expert Testimony established by Daubert.

       Moore spends the bulk of her report criticizing that Defendants “failed” to engage in

adequate human resources practices, but her opinions regarding the same are wholly irrelevant to



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any issue to be decided by a factfinder in this case and, in the unlikely event they are considered

relevant, fail on at least one or more of the numerous requirements presented by Daubert.

                a.      Moore’s Opinions Are Not Relevant and, Therefore, Will Not Help a Trier
                        of Fact to Understand the Evidence or Determine a Fact In Issue.

        As a threshold matter, an expert’s opinions must at a minimum be relevant to the elements

of a party’s cause. See generally, Sandifer v. Hoyt Archery, Inc., 907 F. 3d 802, 809 (5th Cir. 2018)

(“An expert opinion must ‘help the trier of fact to understand the evidence or to determine a fact

in issue.’”) (citing Fed. R. EvID. 702)). In its role as a gate-keeper, the court must determine at the

outset whether the expert’s proposed testimony will “assist the trier of fact to understand the

evidence or to determine a fact in issue.” Daubert, 509 U.S. at 591. “This condition goes primarily

to relevance” and therefore “[e]xpert testimony which does not relate to any issue in the case is

not relevant and, ergo, not helpful.” Id. That is, “[t]o be relevant, the proposed testimony must be

‘sufficiently tied to the facts of the case that it will aid the jury resolving a factual dispute.’” E.I.

du Pont de Nemours & Co. v. Robinson, 923 S.W.2d 549, 556 (Tex.1995).

        Here, Moore’s opinion is being offered to question whether Defendants “engaged in

adequate human resources practices.” However, Ayers’ attempt to impugn Defendants human

resources practices is entirely irrelevant, as what Moore opines on is not at issue. That is, whether

Defendants failed to engaged in adequate human resources practices is wholly irrelevant to any of

Plaintiff’s claims. As previously mentioned, Plaintiff brought this suit under three counts. None of

which involve the adequacy of Defendants’ human resources practices.

        Per Plaintiff’s own complaint, at issue in this case is whether Plaintiff’s termination was a

result of (1) Title VII discrimination based on her sex, gender, race and pregnancy, (2) FMLA

retaliation and/or interference, and/or (3) ADA discrimination and/or failure to accommodate.

Moore specifically points out in her report she “does not provide an opinion as to whether the



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Defendants’ reasons for terminating the Plaintiff would qualify as legitimate, non-discriminatory,

and/or non-retaliatory.” Dkt. No. 23 at pg. 3. However, Defendants’ reasons for terminating Ayers’

employment and whether Defendants failed to accommodate Ayers are the primary issues of this

suit. Therefore, Moore’s opinions about the adequacy of human resources practices are completely

irrelevant and do not matter since her proffered opinions do not relate to any issue in this case, are

not relevant, and are not helpful to the trier of fact. See e.g., Pagan-Aponte v. McHugh, No. 3:09-

cv-0800, 2011 WL 1789962, at *3 (M.D. Tenn. May 10, 2011) (excluding an HR expert because

the expert’s opinion that the interview process was “severely flawed,” is not relevant to the

question of whether the plaintiff was subjected to discrimination.).

        Allowing Moore’s testimony will not help the trier of fact understand any of the evidence

nor will it help the trier of fact determine a fact in issue, instead – it will be an inefficient use of

trial time, and will only confuse the jury as to the with which they are charged to decide.

        Moore’s opinions and testimony are not relevant and therefore should be struck in their

entirety.

                b.      Moore’s Opinions Are Not Based on Sufficient Facts or Data and,
                        Therefore, Are Not Reliable and Are Profoundly Incompetent.

        Moore’s testimony must be reliable in order to be admissible. The reliability requirement

ensures that the testimony is “supported by appropriate validation” and “establishes a standard of

evidentiary reliability.” Daubert, 509 U.S. at 590. This “applies to all aspects of an expert’s

testimony: the methodology, the facts underlying the expert’s opinion, the link between the facts

and the conclusion, et alia.” Knight v. Kirby Inland Marine Inc., 482 F.3d 347, 354-55 (5th Cir.

2007) (internal quotation marks omitted). To be reliable, the opinion must be based on sound

reasoning and methodology. Robinson, 923 S.W.2d at 557. Additionally, and importantly, the

existence of sufficient facts is in all instances mandatory. Henry Hathaway et al v. Steven Bazany,


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507 F.3d 312, 318 (5th Cir. 2007).

       Moore’s opinions as an expert in this case are of questionable reliability because they are

based on incomplete data. See Brown v. Parker-Hannifin Corp., 919 F.2d 308, 311-12 (5th Cir.

1990) (excluding an expert’s opinion because the expert had incomplete data about the specific

occurrence in question and is therefore speculative and of no assistance to the jury.); Viterbo v.

Dow Chemical Co., 826 F.2d 420, 423-24 (5th Cir. 1987) (same). Here, Moore provides in her

report the list of the eleven documents she reviewed in preparation of her report, three of which

were pleadings, and two of which were Plaintiff’s doctor’s notes. Moore did not review all the

relevant documents provided by Defendants during discovery and also never reviewed any of the

three depositions taken, nor did she care to supplement her report with any additional information

or opinions after further review, if any.

       As an example, Moore’s opinions are poorly founded insofar as she obviously and

demonstrably guessed (incorrectly at that) that Defendants had “no policies or other written

guidance regarding FMLA leave entitlement.” Moore only reviewed and references to Defendants’

Employee Handbook, but did not realize nor review specific FMLA notices provided to Plaintiff

throughout her employment. See Dkt. No. 29 at Ex. 7-9.

       Another stark example of Moore’s incompetence and unreliability is her speculation about

Defendants’ “failure to engage in the interactive process” and opining that “instead of engaging in

a dialogue with the Plaintiff about how they might be able to accommodate her need for bedrest

due to her medical condition, Defendants refused all her request and failed to offer any alternatives

for accommodation of her medical condition.” Moore failed to review or consider the email

exchanges produced in discovery by Defendants with Bergquist engaging in this precise dialogue.

       Evidently, the entire body of documents Moore reviewed was a limited set of documents




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selected by Plaintiffs’ counsel. Moore relied on incomplete data and insufficient facts to form her

opinions. This type of unfounded speculation and blatant advocacy by a purported expert is exactly

what the Daubert standards are intended to prevent. See, e.g., Am. Honda Motor Co. v. Allen, 600

F.3d 813, 817 (7th Cir. 2010) (“even the most supremely qualified expert cannot waltz into the

courtroom and render opinions unless those opinions are based upon some recognized scientific

method and are reliable and relevant under the test set forth by the Supreme Court in Daubert.”)

(internal quotations omitted). For this reason alone, Moore’s testimony and opinions should be

stricken in their entirety.

                                             IV.
                                          CONCLUSION

        Moore’s report is deficient because it is unreliable and fails to assist the jury regarding any

element of Plaintiffs’ claims. As a result, Defendants respectfully request that the Court grant its

Motion to Strike Plaintiff’s human resources expert, Marla Moore, and exclude any and all reports,

conclusions, and testimony that she has or will provide in connection with the instant action.



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       Dated: June 30, 2022                   Respectfully submitted,

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                                CERTIFICATE OF SERVICE

      I hereby certify that on the 30th day of June 2022, I electronically filed the foregoing using
the CM/ECF system, which will automatically notify the following counsel of record:

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